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                     IN THE UNITED STATES BANKRUPTCY COURT
                          FOR THE DISTRICT OF MARYLAND
                               GREENBELT DIVISION

                                      *
In Re:                                *   Case No.:    24-14831
                                      *
                                      *   Chapter 7
YVONNE DOVE,                          *
                                      *
                                      *
                                      *
              Debtor.                 *
*****************************************************************************
YVONNE DOVE,                          *
                                      *
              Plaintiff.              *
                                      *   Adv. Proc. No.:
                                      *
                                      *
v.                                    *
                                      *
                                      *
                                      *
U.S. DEPARTMENT OF EDUCATION, *
                                      *
Serve On:                             *
                                      *
Alan C. Lazerow, Esquire              *
Senior Litigation Counsel             *
Assistant United States Attorney      *
36 S. Charles Street, 4th Floor       *
Baltimore, Maryland 21201             *
                                      *
U.S. Department of Education          *
Office of General Counsel             *
400 Maryland Avenue, SW               *
Room 6E300                            *
Washington, DC 20202-2111             *
                                      *
Attorney General of the United States *
U.S. Department of Justice            *
900 Pennsylvania Avenue, NW           *
Washington, DC 20530-0001             *
                                      *
                                      *
              Defendant.              *
                                      *
*        *     *      *      *      *        *       *     *       *     *      *      *

  ADVERSARY COMPLAINT AGAINST U.S. DEPARTMENT OF EDUCATION
REQUESTING A HARDSHIP DISCHARGE OF DEBTOR YVONNE DOVE STUDENT
                            LOANS

         Yvonne Dove, Debtor (hereinafter referred to as “Plaintiff”) brings this adversary

proceeding against the U.S. Department of Education (hereinafter referred to as “Defendant”) to
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obtain a hardship discharge of her federal student loans held by Defendant under Federal Rule of

Bankruptcy Procedure 7001 (6). In support thereof, the Plaintiff states as follows:

                                               Parties

       1.      The Plaintiff entered into several student loans over the years with Defendant in

order to attend the Keller Graduate School of Management at DeVry University to obtain a

graduate school degree.

                                           Jurisdiction

       2.      The Plaintiff has jurisdiction to bring this action as an adversary proceeding against

Defendant under 28 U.S.C. § 1334, Federal Rule of Bankruptcy Procedure 7001 (6).

       3.      This action is a core proceeding under 28 U.S.C. § 157(a)(2).

                                               Venue

       4.      The United States Bankruptcy Court of the District of Maryland, Greenbelt

Division is an appropriate venue for this action under 28 U.S.C. § 1334.

                                        Statement of Facts

       5.      In Fall 2009, the Plaintiff obtained student loans to attend the Keller Graduate

School of Management at DeVry University to obtain a graduate school degree. She was

successful in obtaining this degree.

       6.      Over the course of time, her student loan balance grew to approximately

$171,501.31. She obtained a forebearance.

       7.      The Social Security Administration found that she was disabled on July 12, 2013

and she began to receive disability benefits that turned into Social Security Income after she turned

65 in October, 2018.




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       8.      The Plaintiff only receives Supplemental Security Income (SSI) in the amount of

$1,648.70 as well as Food Stamps for $291.00 and electrical Bill Assistance for $81.00.

       9.      Also, the Plaintiff was eligible for free legal services from the Maryland Legal Aid

Bureau to file this Chapter 7 bankruptcy and was forced to file this Chapter 7 bankruptcy because

of debts, in addition to the student loan issue.

                                                ARGUMENT

    COUNT I – DETERMINATION OF DISCHARGABILITY OF STUDENT LOANS

       10.     The facts stated in Paragraphs 1-9 are incorporated into this section by reference.

       11.     Plaintiff is permitted under Federal Rule of Bankruptcy Procedure 7001(6) to file

an adversary proceeding to determine the dischargability of her student loans.

       12.     Under 11 U.S.C. § 523 (a)(8), a Debtor is permitted to get a discharge of their

student loans in bankruptcy if they can demonstrate that not obtaining a discharge in their student

loans would result in an undue hardship.

       13.     A Debtor/Plaintiff can demonstrate undue hardship by showing that a debtor cannot

maintain a minimal standard of living if required to repay the student loans, circumstances exist

indicating that the debtor’s financial situation is likely to persist for a significant period of time,

and the debtor has made good faith efforts to pay back her student loans. See Brunner v. New York

State Higher Education Services Corp., 830 F.2d 395 (2nd Cir. 1987).

       14.     The Plaintiff is over sixty-five (65) years old, living on minimal SSI income, so

requiring her to pay her student loans would be an undue hardship. In addition, she is also suffering

from a permanent disability, which means her situation is unlikely to change in the near future.

       15.     Therefore, the Plaintiff qualifies for a hardship discharge and her student loans with

the U.S. Department of Education should be discharged in full.



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WHEREFORE, the Plaintiffs seek the following relief from court:

A. A declaratory judgment from the court declaring that all of the student loans the

   Debtor/Plaintiff has with the Defendant will be discharged at the conclusion of the

   Debtor/Plaintiff’s Chapter 7 bankruptcy; and

B. All other relief that the Court deems just and proper.

                                                            s/ Brock Goldner
                                                            Brock Goldner
                                                            Maryland Legal Aid
                                                            500 E. Lexington Avenue
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                                                            Attorney for Debtor/Plaintiff




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